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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

                                                       §
U.S. COMMODITY FUTURES TRADING                         §
COMMISSION,                                            §
                                                       §            CIVIL ACTION NO.
                       Plaintiff,                      §             1:10-cv-00385-SS
                                                       §
v.                                                     §
                                                       §
RICHARD D. THEYE; and                                  §
MICIND CAPITAL MANAGEMENT, INC.                        §
                                                       §
                       Defendants.                     §
                                                       §

           RECEIVER’S MOTION FOR APPROVAL OF FINAL ACCOUNTING,
     AUTHORIZATION TO PAY RECEIVERSHIP EXPENSES, AUTHORIZATION TO
         ASSIGN JUDGMENTS, AND AUTHORIZATION TO ACCOMPLISH
          ALL MATTERS NECESSARY TO CLOSE THE RECEIVERSHIP

        Kelly M. Crawford, the Receiver appointed by the Court, moves the Court for an Order

approving the Receiver’s Final Accounting, authorizing payment of all final fees and expenses,

authorizing assignment of certain judgments, and approval and authorization for the Receiver to

accomplish all matters necessary to close the receivership, as set forth below.

                                                 I.

          SUMMARY OF RECEIVER’S INVESTIGATION AND RECOVERIES

        On August 27, 2010, this Court entered its Order appointing Kelly M. Crawford as

Receiver directing him to assume “exclusive custody, control, and possession of the Receiver

Estate”, which consisted of the Defendants’ Assets. Although the Receiver Estate had no assets

at the time of the entry of the Order, the Receiver was able to recover sufficient funds to

distribute $1 million to the investor victims. A Closing Report summarizing the administration

of the Receivership is attached as Exhibit A.



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                                                II.

                     REQUEST FOR APPROVAL OF ACCOUNTING

       Attached hereto as Exhibit B is a cash basis accounting from the inception of the

receivership on August 27, 2010 through April 2, 2012. The accounting reflects total recoveries

during the receivership of $1,184,178.47, a distribution of $1 million to the investor victims, and

payment of $135,219.83 in administrative fees and expenses of the receivership through June 25,

2011. The Receiver requests the Court’s approval of this Final Accounting. As of April 3, 2012

cash on hand is $48,859.57.

                                               III.

         REQUEST FOR AUTHORITY TO PAY FINAL FEES AND EXPENSES

       Contemporaneously with the filing of this Motion, the Receiver filed his Motion for

Approval of Receivership Fees and Expenses for the 9 month period from June 26, 2011 through

March 25, 2012 consisting of $10,010.00 in fees of the Receiver; $37,790.50 in fees of the

Receiver’s attorneys; expenses of $10,742.41; and $292.01 in fees and expenses of the

Receiver’s accountant. The Receiver requests approval of these fees and expenses as set forth in

the Motion.

       In addition to the foregoing, the Receiver estimates the final expenses for closing the

Receivership accruing after March 25, 2012 to be $6,500.00. A breakdown of the estimated

costs is listed on the attached Exhibit C. Closing costs include, but are not limited to, preparing

the closing petition, preparing the motion for approval of fees and expenses, assigning the

judgments as set forth herein, monitoring collection of the settlement agreements as set forth

herein, closing the bank accounts, releasing the bond, preparing and filing the final tax

documents, responding to questions from claimants regarding the receivership, storing the




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receivership documents for a sufficient period of time, and disposing of the seized documents

thereafter. The Receiver believes these estimated costs are reasonable and necessary. The

Receiver requests approval of the estimated costs necessary to close the Receivership and

authority to pay the estimated costs as set forth on Exhibit C attached hereto.

                                               IV.

                          REQUEST TO ASSIGN CERTAIN
                    SETTLEMENT AGREEMENTS AND JUDGMENTS

       The cash on hand of $48,859 is insufficient to pay the accrued and unpaid fees and

expenses of $58,834.92, and the estimated fees and expenses required to close the receivership of

$6,500. The Receiver requests authority to pay the approved fees and expenses from the cash on

hand. For the deficiency remaining, the Receiver requests authority to continue to collect the

settlement payments that become due under the settlement agreements listed on Exhibit D and to

use the monies collected from such settlement agreements to pay the deficiency. Once the

deficiency has been fully paid, the Receiver requests the authority to assign any remaining

unpaid settlement agreements to the United States District Court Clerk in Austin, Texas, with the

collection of future settlement payments under the agreements to be supervised by the Financial

Litigation Unit of the Office of the United States Attorney of the Western District of Texas.

       In addition, the Receiver requests authority to assign to the United States District Court

Clerk in Austin, Texas those unpaid and outstanding judgments obtained by the Receiver as

listed on Exhibit E, with the collection of such judgments to be supervised by the Financial

Litigation Unit of the Office of the United States Attorney of the Western District of Texas.




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                                                V.

                            REQUEST TO CLOSE RECEIVERSHIP

          The Receiver seized and liquidated all known Receivership Assets. In addition, all

claims owned by the Receiver have been settled. Moreover, with the payment of the accrued and

final expenses of the Receivership and payment of the final distribution, all assets of the

Receivership will be disbursed.

          Accordingly, the Receiver requests the Court to enter an Order approving the Receiver’s

Final Accounting, authorizing the Receiver to assign certain judgments, approving all unpaid and

accrued fees and expenses and authorizing payment of those fees and expenses, authorizing the

Receiver to file with the Internal Revenue Service or any governmental agency any tax returns or

compliance documents that may be requested, and thereafter destroy or dispose of the

Receivership documents as appropriate. In addition, with the closing of the Receivership, the

Receiver requests that he and his employees, agents, and attorneys be released from liability.

                                                VI.

                                            PRAYER

          WHEREFORE, the Receiver respectfully requests the Court to enter an order:

          1) Approving the Receiver’s Final Accounting, attached hereto as Exhibit B;

          2) Authorizing the payment from receivership assets now existing and hereafter acquired

the accrued and estimated receivership fees and expenses reflected in Exhibit C and the

Receiver’s Motion for Approval of Receivership Fees and Expenses filed contemporaneously

herein;




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        3) Authorizing the Receiver to assign to the District Clerk any remaining monies due

under the Settlement Agreements listed on Exhibit D after the approved fees and expenses of the

receivership have been paid in full;

        4) Authorizing the Receiver to assign to the District Clerk those judgments listed on

Exhibit E;

        5) Authorizing the Receiver to file with the Internal Revenue Service or any

governmental agency any tax returns or compliance documents that may be requested;

        6) Authorizing the Receiver to retain the books and records necessary to support the tax

returns filed by the Receiver for a period of four years and thereafter destroy the records;

        7) Authorizing the Receiver to destroy all books and records not necessary to support

the tax returns filed by the Receiver after one year from the date of this order;

        8) Authorizing the Receiver to close the receivership bank accounts after paying all fees

and expenses;

        9) Exonerating and releasing the Receiver’s Bond filed in this matter;

        10) Exonerating and releasing the Receiver and his employees, agents, attorneys and

assistants from any and all further liability to the Receivership Estate and to the creditors,

claimants, beneficiaries, or owners of the Receivership Estate;

        11) Enjoining all persons from commencing or prosecuting, without leave of this Court,

any action against the Receiver or his agents in connection with or arising out of the Receiver’s

service to this Court in this Receivership;

        12) Retaining jurisdiction for the purpose of enforcing the above injunctive relief; and

        13) That the Receiver be granted such other and further relief to which he may be justly

entitled.




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                                           Respectfully submitted,

                                            SCHEEF & STONE, L.L.P.

                                            By:    /s/ Charlene C. Koonce
                                                   Charlene C. Koonce
                                                   State Bar No. 11672850

                                           500 N. Akard Street, Suite 2700
                                           Dallas, Texas 75201
                                           Telephone: 214.706.4200
                                           Telecopier: 214.706.4242

                                           ATTORNEYS FOR RECEIVER
                                           KELLY M. CRAWFORD



                            CERTIFICATE OF CONFERENCE
       The undersigned hereby certifies that on or about April 8, 2012, the Receiver conferred
with counsel for the U.S. Commodity Futures Trading Commission regarding this Petition and
proposed Order and the Commission is not opposed to the relief sought herein.

                                                   /s/ Kelly M. Crawford
                                                   KELLY M. CRAWFORD




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                                CERTIFICATE OF SERVICE
       The undersigned hereby certifies that on April 9, 2012, I electronically filed the foregoing
document with the clerk of the U.S. District Court, Western District of Texas, using the
electronic case filing system of the court. The electronic case filing system sent a “Notice of
Electronic Filing” to the following attorneys of record:
    James W. Deacon                                   Kelly M. Crawford
    Commodity Futures Trading Commission              Scheef & Stone, L.L.P.
    1155 21st Street, NW                              500 N. Akard Street, Suite 2700
    Washington, DC 20581                              Dallas, Texas 75201
    Tele: 202-418-5000                                Tele: 214-706-4200
    Fax: 202-418-5531                                 Fax: 214-706-4242
    Email: SSeitz@cftc.gov                            Email: Kelly.Crawford@SolidCounsel.com
           JDeacon@cftc.gov                           Receiver
    Attorneys for CFTC

       I further certify that on this 9th day of April, 2012, I served a true and correct copy of the
foregoing by sending it by electronic mail to the persons listed below:

    Kathleen M. Banar                                 Jessee Shifflett
    Commodity Futures Trading Commission              United States Probation Office
    1155 21st Street, NW                              Western District of Texas, Austin Division
    Washington, DC 20581                              903 San Jacinto Boulevard, Suite 121
    Tele: 202-418-5000                                Austin, Texas 78701
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    Criminal Attorney for Theye

                                                      /s/ Charlene C. Koonce
                                                      CHARLENE C. KOONCE



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